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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA,

                   Plaintiff,

              v.
                                                           Case No.: 21-cv-1633-RBW
 Aon plc et al.,

                   Defendants.



              DEFENDANTS’ REPLY MEMORANDUM IN SUPPORT OF
             MOTION FOR EXPEDITED ENTRY OF SCHEDULING ORDER

       In its first three filings in this case, the Antitrust Division of the Department of Justice (the

“Division”) opposed entry of its own protective order, opposed setting a trial date upon which a

Case Management Order could be based, and opposed answering interrogatories that would give

Defendants fair notice of the theories on which this case has been brought. These positions are

supported mostly by the incredible argument that Defendants are responsible for how long it took

the Division to file suit. These are the facts:

       •    The transaction was announced on March 9, 2020.

       •    Defendants’ Hart-Scott-Rodino filing was submitted on April 24, 2020.

       •    The Division issued its Request for Additional Information and Documentary Material
            on June 29, 2020, which Defendants “substantially complied” with by the first week
            of November 2020.

       •    The 90-day post-compliance review period the Division demanded in its “Timing
            Agreement”—the point at which the Division was supposed to have been ready to sue
            or clear the deal—expired on February 1, 2021.

       •    The Division did not file suit until June 16, 2021, less than three months before the
            Outside Date that the Division has known about throughout the last 15 months.




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       It is not productive to argue about how we got here or who bears the blame. Everyone

agrees that merger challenges are litigated very quickly. Indeed, the longest schedule in the

examples the Division provides (Opp. 6-7) was 160 days from complaint to trial, three months

shorter than the Division’s proposed February 28, 2022 trial date here. Nowhere does the Division

even attempt to explain why it is necessary to depart from the Division’s own precedent. Nor is it

appropriate to link negotiations on a Case Management Order to the Division’s proposed trial date,

which is indefensible given the amount of time the Division has had to investigate this transaction

and in relation to precedent merger trials. That is what necessitated this motion.

       Defendants understand the challenges of getting to trial in just two months. We simply ask

that, in setting a trial date, the Court take into account Defendants’ urgent need for the earliest

possible trial date, consistent with the Court’s own schedule and the fact that the Division has

already had ample time to prepare its case.

Dated: July 5, 2021                              Respectfully submitted,

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